                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                                 Chapter 11

YELLOW CORPORATION, et al.,1                           Case No. 23-11069 (CTG)

                        Debtors.                       (Jointly Administered)

                                                       Objection Deadline: September 8, 2023 at 4:00 p.m. (ET)
                                                       Hearing Date: September 15, 2023 at 11:30 a.m. (ET)

                                                       Ref. No. 391

    PACCAR FINANCIAL CORP.’S RESERVATION OF RIGHTS AND RESPONSE TO
    DEBTORS’ MOTION FOR APPROVAL OF CONTRACT AND LEASE REJECTION
                       PROCEDURES [DKT. NO. 391]

         PACCAR Financial Corp. (“PACCAR”), a current lessor of Peterbilt trucks to the above-

captioned Debtors, hereby submits its Reservation of Rights and Response to the above-

captioned Debtors’ motion seeking, inter alia, approval of procedures that would govern

rejection of executory contracts and unexpired leases and any related abandonment of Debtor

personal property (the “Motion”) [Dkt. No. 391]. In support thereof, PACCAR states as follows:

    1. On August 6, 2023 (the “Petition Date”), Yellow Corporation and its debtor affiliates

each filed voluntary petitions for relief under Chapter 11 of the Bankruptcy Code.

    2. The Debtors, while remaining in possession of their assets, are in full-scale wind down

and liquidation mode in these bankruptcy cases.

    3. The Motion was filed on August 31, 2023. [Dkt. No. 391.] 2

    4. On or about June 29, 2018, PACCAR as lessor and YRC Enterprise Services, Inc. as



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   A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the
Debtors’ proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location
of Debtors’ principal place of business and the Debtors’ service address in these chapter 11 cases is:
10990 Roe Avenue, Overland Park, Kansas 66211.
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  The Debtors have scheduled the Motion for hearing on September 15, 2023, at 11:30 a.m., with a
response deadline of September 8, 2023.
{01936535;v1 }                                     1
lessee entered into a Master Equipment Lease Agreement and related agreements (collectively,

the “Master Lease”) with respect to the leasing of PACCAR’s Peterbilt trucks. 3

    5. Thereafter, as provided in the Master Lease terms and conditions, PACCAR as lessor and

debtor lessees USF Holland LLC, New Penn Motor Express LLC, and USF Reddaway Inc.

entered into multiple leases and related schedules (collectively, as may have been amended or

extended, the “Lease Schedules”). Pursuant to the Master Lease and related Lease Schedules,

PACCAR leased over 320 trucks (the “Trucks”) to the Debtors. 4

    6.    PACCAR, as owner, retains the titles for all of their leased Trucks. 5

    7. The respective Lease Schedules apply to specified Trucks (with identifying information,

such as VIN numbers) and have varying commencement and maturity dates, as well as varying

monthly payment due dates.

    8. As of the Petition Date, on an aggregate per month basis, the lessee Debtors collectively

were obligated to pay PACCAR approximately $627,000 in lease payments under all Lease

Schedules (whether matured or not).

    9. The Debtors currently are in default of their monthly payment obligations under the

Master Lease and Lease Schedules. As of the Petition Date, and subject to further reconciliation,

the outstanding and overdue aggregate balance owed to PACCAR was at least $174,000

(exclusive of any late charges, interest, liquidated damages, and attorneys’ fees). 6

    10. Thirteen (13) of the Lease Schedules have matured either shortly before or since the

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  YRC Worldwide Inc. executed guaranty documents in connection with the Master Lease.
4
  USF Holland LLC (22 lease accounts); New Penn Motor Express LLC (16 lease accounts); and USF
Reddaway Inc. (11 lease accounts).
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  In the weeks leading up to the Petition Date, the Debtors purchased several leased Trucks pursuant to
the terms of the Master Lease and those applicable Lease Schedules. The Debtors also agreed with
PACCAR to extend certain Lease Schedules so that those Lease Schedules did not mature as originally
provided.
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   Because the Debtors have not made any lease payments since the Petition Date, the open and overdue
balance has only increased on a postpetition basis.
{01936535;v1 }                                     2
Petition Date, through and including September 7, 2023. An aggregate eighty-eight (88) Trucks

correspond to those Lease Schedules. Additional Lease Schedules are set to mature in the

coming weeks and months.

    11. PACCAR has been informed its Trucks currently are sitting parked at over 80 Debtor-

controlled facilities located throughout the United States. To the extent any of these facilities are

leased by the Debtors, the corresponding leases for those facilities presumably could be

implicated by the relief sought pursuant to the Motion.

    12. To date, the Debtors on a postpetition basis have not sought to (a) reject the Master Lease

or any of the related (unmatured) Lease Schedules or (b) purchase any of the Trucks subject to

matured Lease Schedules.

DEBTORS’ PROPOSED CONTRACT REJECTION PROCEDURES

    13. By the Motion, the Debtors, inter alia, seek entry of an order approving proposed

contract and lease rejection procedures. Those proposed procedures are described in the Motion

itself and are set forth in the proposed order attached to the Motion.

    14. The proposed contract rejection procedures contemplate rejection of, among other types

of contracts, leases of nonresidential real property (hereafter, “Real Property Leases”). (See

Motion, ¶¶8(a), 8(c), 8(d).) As for when a proposed rejection of a Real Property Lease would

become effective, the Debtors state as follows:

    If no objection to the rejection of any Contract is timely filed, each Contract listed in the
    applicable Rejection Notice shall be rejected as of the Rejection Date set forth in the
    Rejection Notice or such other date as the Debtors and the counterparty or counterparties to
    such Contract(s) agree; provided that the effective date of a rejection of a nonresidential real
    property lease shall not occur until the later of (i) the date the Debtors file and serve a
    Rejection Notice for such lease, (ii) the Rejection Date set forth in the Rejection Notice, and
    (iii) the date the Debtors relinquish control of the premises by notifying the affected landlord
    in writing of the Debtors’ surrender of the premises and (A) turning over keys, key codes,
    and security codes, if any, to the affected landlord or (B) notifying the affected landlord in
    writing that the keys, key codes, and security codes, if any, are not available, but the landlord

{01936535;v1 }                                    3
    may rekey the leased premises.

(Motion, ¶8(d); see also ¶17 (“Additionally, in the case of unexpired leases of nonresidential real

property, the Debtors will likely vacate the premises before or upon serving the Rejection Notice,

thereby allowing the counterparties to take possession of and relet the property promptly.”))


    15. PACCAR is not a party to any Real Property Leases. But, the PACCAR Trucks may be

located at properties subject to Real Property Leases that, in turn, could be rejected under the

proposed rejection procedures. 7 If so, rejection of such Real Property Leases (and the Debtors’

corresponding vacation of the subject premises) potentially could have an adverse impact on

PACCAR and its ability to access and retrieve Trucks, as necessary. The Debtors should provide

how they propose to avoid occurrence of such scenario and language should be added to the

proposed rejection procedures to protect against any such prejudice.

    16. Any approved contract rejection procedures (and any actual rejection) should not operate

to prejudice the rights of third parties such as PACCAR whose property leased by the Debtors

may be located on property subject to a Real Property Lease the Debtors seek to reject.

Notwithstanding any rejection of the underlying Real Property Lease, PACCAR potentially

could require access rights to the subject location(s) in order to access its property (the Trucks),

including without limitation if and when the Master Lease and related unmatured Lease

Schedules are slated for rejection.8

    17. By the Motion, the Debtors also seek authority to potentially abandon personal property

located at premises subject to Real Property Leases. (Motion, ¶¶1, 8(g), 16, 22.) The Debtors

certainly may choose to abandon their own personal property. But it should be made clear in any

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   PACCAR lacks current visibility as to whether any of its Trucks are located at Debtor locations subject
to any Real Property Leases. PACCAR remains willing to work with the Debtors on these issues.
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   PACCAR has worked with the Debtors on a process for inspecting its Trucks. To inspect Trucks,
PACCAR agents and representatives will travel to locations identified by the Debtors.
{01936535;v1 }                                      4
approval order (and any related rejection notice) that no property belonging to third parties such

as PACCAR also will be deemed abandoned to a property owner as a result of any rejection of

contracts, including Real Property Leases.

    18. PACCAR does not waive and expressly reserves all rights, claims, remedies, defenses,

and interests available under the Master Lease, related Lease Schedules, and otherwise under

applicable law.

         WHEREFORE, PACCAR respectfully requests that any order approving the Motion be

modified so it is consistent with the above.

Dated: September 7, 2023                        ASHBY & GEDDES, P.A.
                                                /s/ Michael D. DeBaecke
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